Case 2:02-cr-20331-.]DB Document 114 Filed 07/11/05 Page 1 of 2 Page|D 133

IN THE UNITED sTATEs DISTRICT CoURT 05
FOR THE wEsTERN DIsTRICT oF TENNESSEE JUL l l AH |O= 33

 

  

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UNITED sTATES 0F AMERICA, /”C 6 y t _ _i
P}aintiff,
VS' No. 02-20331
TORRICK LYLES,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on July 11, 2005 at 1:30 p.m. For good cause shown, the Court hereby grants the

Defendant’s motion. The sentencing is hereby reset for the f"l+h day of £gj %§p_( q§+ ,

2005 at if§() a.m@
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IT IS SO ORDERED this f U` day of July, 2005.

 

.1) NIEL BREEN \
UN EI) sTATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

